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                                                        Exhibit 2 -
                                                        Part 2
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